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               ORAL ARGUMENT NOT YET SCHEDULED
                          No. 24-5235

                                     IN THE

            United States Court of Appeals
          for the District of Columbia Circuit

                    NOVARTIS PHARMACEUTICALS CORPORATION,
                                                Plaintiff-Appellant,
                                     v.

     XAVIER BECERRA, SECRETARY OF HEALTH AND HUMAN SERVICES, et al.,
                                              Defendants-Appellees,
                                  and

                       MSN PHARMACEUTICALS INC., et al.,
                                                 Intervenor-Appellees.

                On Appeal from the United States District Court
                 for the District of Columbia, No. 24-cv-02234
                         (Before Dabney L. Friedrich, J.)

  EMERGENCY MOTION FOR ADMINISTRATIVE STAY AND STAY
  PENDING APPEAL OF FDA’S APPROVAL OF THE MSN PRODUCT

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 January 12, 2025
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

        Pursuant to Circuit Rule 28(a)(1), Novartis Pharmaceuticals Corporation

certifies that:

   A.     PARTIES

   1.    The following are parties in this Court:

           a. Plaintiff-Appellant: Novartis Pharmaceuticals Corporation.

           b. Defendant-Appellees: Xavier Becerra, in his official capacity as

              Secretary of the United States Department of Health and Human

              Services, and Robert M. Califf, in his official capacity as the

              Commissioner of the Food and Drug Administration.

           c. Intervenor-Defendants:      MSN   Pharmaceuticals   Inc.   and   MSN

              Laboratories Private Ltd.

   2.    For purposes of Federal Rule of Appellate Procedure 26.1 and Circuit Rule

         26.1, Novartis Pharmaceuticals Corporation certifies that Novartis Finance

         Corporation is its direct parent corporation, and that Novartis

         Pharmaceuticals Corporation is an indirect, wholly-owned subsidiary of

         Novartis AG.

   B.     RULINGS UNDER REVIEW

        Plaintiff-Appellant appeals an order and memorandum opinion issued on

October 13, 2024, by District Judge Dabney L. Friedrich, ECF Nos. 64, 65. This



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order and opinion granted Defendants-Appellees’ Cross Motions for Summary

Judgment (ECF Nos. 43, 46) and denied Plaintiff-Appellant’s Motion for Summary

Judgment (ECF No. 38).

   C.     RELATED CASES

        The appeal docketed as Novartis Pharmaceuticals Corporation v. Becerra

(D.C. Cir. 24-05186) was a related case under Circuit Rule 28(a)(1)(C). This Court

dismissed the appeal as moot on October 31, 2024.

                                             /s/ Catherine E. Stetson
                                             Catherine E. Stetson

                                             Counsel for Novartis Pharmaceuticals
                                             Corporation




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                               GLOSSARY


ANDA            Abbreviated New Drug Application

FDA             Food and Drug Administration

FDCA            Food, Drug, and Cosmetic Act

LVEF            Left Ventricular Ejection Fraction

MSN             MSN Pharmaceuticals

NDA             New Drug Application




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                                INTRODUCTION

      FDA approved a purported generic drug that references Novartis’s best-

selling drug product ENTRESTO® (sacubitril/valsartan). In doing so, FDA violated

the agency’s plain statutory and regulatory mandate that a generic drug be the

“same” as its reference listed drug. The District Court, however, rejected those

arguments and granted judgment for FDA and the intervenor generic manufacturer.

      Merits briefing in this appeal is underway. The need for this stay arose late in

the afternoon on January 10, when the U.S. Court of Appeals for the Federal Circuit

lifted an administrative injunction precluding Intervenor MSN from launching its

purported generic—despite ruling in Novartis’s favor on the merits of its patent

appeal earlier in the day. Later that day, the trial court overseeing the patent

litigation restrained MSN from launching its product through January 15, 2025. At

that point, the patent will expire. MSN has forecast its intention to launch its

unlawful generic product at the earliest opportunity.

      The impact of the MSN launch will be felt immediately. Once MSN’s product

hits the shelves, it will be automatically substituted for ENTRESTO at pharmacies

and quickly take over a vast percentage of ENTRESTO’s sales, insurers will move

ENTRESTO to a lower formulary tier, and it will be virtually impossible for

Novartis to recover this important market for its best-selling product. And because

patients and physicians are frequently unaware when a generic product has been
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substituted for a brand-name product, patient injuries caused by the carved-out

labeling challenged in this APA lawsuit will jeopardize Novartis’s relationships with

physicians, patients, insurers, and distributors.

      Novartis requests an administrative stay by 5 PM on January 13, 2025, and a

stay pending appeal by 5 PM on January 15, 2025.

                                  BACKGROUND

   A. Statutory and Regulatory Background

Drug Approval Process

      The Federal Food, Drug, and Cosmetic Act (FDCA) provides the statutory

framework for FDA’s regulatory oversight of drug products. To gain approval to

market a new brand-name drug, a manufacturer submits a New Drug Application

(NDA), demonstrating with scientific studies that the drug is safe and effective. 21

U.S.C. § 355(b)(1). Generic drugs are approved through an Abbreviated New Drug

Application (ANDA). 21 U.S.C. § 355(j). An ANDA need not independently

demonstrate safety or effectiveness; it need only establish that the generic product is

“the same as” a reference listed drug already known to be safe and effective. See 21

U.S.C. § 355(j)(2).

Same-Labeling Requirement

      The FDCA generally requires an ANDA applicant to demonstrate that its

proposed labeling is the same as the labeling for the reference listed drug. 21 U.S.C.




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§ 355(j)(2)(A). FDA has issued regulations addressing the limited exceptions to the

same-labeling requirement. 54 Fed. Reg. 28,872, 28,884 (July 10, 1989) (noting that

the exceptions to the same-labeling are “limited.”). FDA regulations provide that

the generic drug product may reflect labeling differences to address marketing

exclusivity or patent rights, so long as “such differences do not render the proposed

drug product less safe or effective than the listed drug for all remaining, non-

protected conditions of use.” 21 C.F.R. §§ 314.127(a)(7), 314.94(a)(8)(iv).

      The agency also directed that labeling differences designed to avoid patent

protection or regulatory exclusivity must take the form of an omission of language.

Id. § 314.94(a)(8)(iv).

   B. Novartis’s ENTRESTO

      ENTRESTO was approved by FDA in July 2015. ENTRESTO is currently

approved to reduce the risk of cardiovascular death and hospitalization for heart

failure in adult patients with chronic heart failure. It also has an approved pediatric

indication. AR 1470.

      Heart failure patients are sometimes classified by their left ventricular ejection

fraction (LVEF). Ejection fraction is a measurement, expressed as a percentage, of

how much blood the heart’s left ventricle pumps out with each contraction.

      ENTRESTO’s initial indication, in patients with chronic heart failure and

reduced ejection fraction (HFrEF), was based on the results of a clinical trial that




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enrolled patients with heart failure with reduced ejection fraction of less than or

equal to 40%. AR 241–243.

The PARAGON-HF Trial

      In February 2021, FDA approved a supplement to ENTRESTO’s NDA. AR

1466–68. The supplement was premised on the results of a second clinical trial,

known as the PARAGON-HF trial, which enrolled patients with chronic heart failure

and LVEF greater than or equal to 45%. AR 3964–66. Based on the combined

results of both trials, the ENTRESTO indication was expanded to include not only

chronic heart failure patients with reduced ejection fraction, but also those with

LVEF greater than 40%, including those with preserved ejection fraction (that is, the

ejection fraction is 50% or higher at diagnosis) (HFpEF). AR 1470, AR 1491.

ENTRESTO is now approved to treat all patients with chronic heart failure, whether

classified as having reduced ejection fraction or not. AR 1470, 3980.

      This approach reflects the modern understanding of heart failure, because the

medical community has transitioned away from using LVEF as a strict criterion for

classifying heart failure. AR 3821–47.

The TITRATION Study

      ENTRESTO’s labeling describes a modified dosing regimen for patients not

taking an angiotensin-converting enzyme (ACE) inhibitor or an angiotensin II

receptor blocker (ARB)—two drugs that increase blood flow—or who were




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previously taking low doses of these agents before starting ENTRESTO.1 AR 1471.

The labeling directs physicians and such patients to initiate treatment with a reduced

dose of ENTRESTO and then to up-titrate to the target dose more slowly than is

used for other patients. AR 1471.

        This modified dosing regimen is derived from a clinical study known as the

TITRATION study, which demonstrated that the dosing regimen in Section 2.6 of

the ENTRESTO labeling resulted in fewer clinically relevant adverse events for this

patient group and allowed them to reach the efficacious target dose. AR 3982–84;

AR 3949.

        Because of Novartis’s patent protection, Declaration of Travis Roop (Roop

Decl.) ¶ 4, FDA is prohibited from approving generic labeling that references the

patented uses until the expiration of the relevant patents if a generic applicant does

not challenge each patent, or challenges each patent but does not prevail. 21 U.S.C.

§ 355(j)(5)(B)(ii)-(iii).

     C. The Same Active Ingredient Citizen Petition

        In April 2019, Novartis submitted a citizen petition to FDA explaining that

any generic version of ENTRESTO must have the same active ingredients in the

same chemical form as ENTRESTO. AR 2812–38. In that petition, Novartis argued

that the two active ingredients in ENTRESTO are in a single chemical structure and


1
    These patients are called “ACE-inhibitor or ARB naive patients.”


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that this chemical structure must serve as the basis for establishing active ingredient

sameness for any proposed generics. AR 2817–31.

   D. The Labeling Carve-Out Citizen Petition

      In September 2022, Novartis submitted a citizen petition to FDA explaining

that it would be unlawful for FDA to revise the approved indication for purported

generic versions of ENTRESTO by rewriting the indication to cover only patients

with reduced ejection fraction. AR 3959–3990. Novartis also explained that FDA

was prohibited from carving the modified dosing regimen out from generic labeling

because to do so would be to render the purported generic product less safe and

effective than ENTRESTO for the remaining conditions of use. AR 3982.

   E. FDA’s Approval of the MSN Product and Novartis’s Lawsuit

      On May 28, 2024, FDA denied Novartis’s Same Active Ingredient Citizen

Petition. AR 2783–2808. Specifically, the agency rejected Novartis’s argument that

the “same active ingredient” analysis should be based on the salt structure present in

the finished dosage form of Entresto—that is, sacubitril and valsartan in ionic

coordination with sodium with 1:1:3 stoichiometry.

      On July 24, 2024, FDA denied Novartis’s Labeling Carve-Out Citizen

Petition. AR 3910–54. The next day, FDA updated the Orange Book to reflect its

approval of an ANDA submitted by MSN identifying ENTRESTO as the reference




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listed drug. Novartis filed this lawsuit days later and sought a TRO and preliminary

injunction.

      On August 13, the District Court denied both requests but implemented a brief

stay to permit Novartis to seek relief from this Court. This Court entered a stay

pending appeal on August 19, concluding that Novartis “ha[d] satisfied the stringent

requirements for a stay pending appeal.” See Order (D.C. Cir. Aug. 19, 2024).

      On October 13, the District Court granted the federal and intervenor-

defendants’ cross motions for summary judgment and denied Novartis’s motion for

summary judgment. Novartis appealed.

      At the request of FDA and MSN, the Court lifted its stay in the first,

preliminary-injunction appeal and dismissed that appeal. This Court also noted that

Novartis had not moved for a stay in the appeal from the District Court’s summary-

judgment ruling. At the time, however, a separate administrative injunction put in

place by the U.S. Court of Appeals for the Federal Circuit in patent litigation

between Novartis and MSN precluded MSN from launching its product; there thus

was no emergency, and no need for a belt-and-suspenders stay here.

      On January 10, the Federal Circuit ruled in favor of Novartis and found the

key patent in dispute to be valid. MSN had already admitted to infringement. But

after issuing a decision on the merits, the Federal Circuit lifted its administrative

injunction and denied Novartis’s motion to continue it. Order, Novartis Pharm.




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Corp. v. MSN Pharms., Inc., et al., Nos. 2023-2218, 2023-2220, 2023-2221 (Fed.

Cir. Jan. 10, 2025). Later that afternoon, the Delaware trial court overseeing the

patent litigation restrained MSN from launching its product through January 15,

2025, when the patent expires. Because MSN now has threatened imminent launch

of a product that should never have been approved in the first place, Novartis seeks

emergency relief in this Court.

                                    ARGUMENT

      A request for a stay pending appeal requires the moving party to show it is

likely to “prevail on the merits” of its request, the “prospect of irreparable injury” is

substantial, there is comparatively little “possibility of harm” to the adverse parties,

and the “public interest” favors maintaining the status quo. Washington Metro. Area

Transit Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977); Nken

v. Holder, 556 U.S. 418, 434 (2009). A motion for an administrative stay is governed

by the same factors. D.C. Cir. R. 8(a)(1). Novartis readily satisfies each factor.

   I. NOVARTIS IS LIKELY TO PREVAIL ON THE MERITS.

      The District Court reached the merits of this case at summary judgment, ruling

for the federal- and intervenor-defendants—but the merits continue to tilt sharply in

favor of Novartis.




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      A. MSN’s Labeling         Impermissibly     Carves     Out    Critical   Safety
         Instructions.

      Novartis’s TITRATION study demonstrated that the modified dosing regimen

results in fewer clinically relevant adverse events for a vulnerable patient group and

allowed a greater proportion of these patients to reach the efficacious target dose.

AR 3982–84; AR 3949. Upon reviewing the study, FDA observed that “[a] longer

titration period with a starting dose of 50 mg bid may reduce the risk of hypotension,

renal impairment and hyperkalemia in patients previously on a low dose of an [ACE

inhibitor] or ARB,” as well as patients who are not currently taking an ACE inhibitor

or ARB. AR 301. The agency also stated that the TITRATION study’s results

“suggest[] that patients who were previously on low dose[s] of ACEi and ARBs

might benefit from a slow up-titration regimen . . . rather than a fast up-titration

regimen . . . We agree with the proposed titration strategy from a safety

perspective.” AR 311 (emphasis added).

      The protected dosing regimen in Section 2.6 of ENTRESTO’s labeling

provides clear directions for patients and providers so that ENTRESTO is

administered at a safe dose and on a tolerable schedule to a group of patients who

may otherwise fail to achieve the target dose. AR 1471. This improved safety and

tolerability allows patients who may previously have discontinued therapy to

continue to benefit from ENTRESTO’s proven effectiveness. Roop Decl. ¶ 8.




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      Now FDA wants to pull this back for MSN’s product: While the modified

dosing regimen may be beneficial to ACE/ARB-naïve patients, the agency asserts

that the modified dosing language may be carved out of MSN’s labeling because the

dosing regime was not “necessary to Entresto®’s approval.” ECF 63 at 11; ECF 52

at 26. That is not the standard. The agency’s regulations governing labeling carve-

outs require that the generic drug’s labeling be no “less safe or effective than the

listed drug for all remaining, non-protected conditions of use.” 21 C.F.R.

§ 314.127(a)(7); 21 C.F.R. § 314.94(a)(8)(iv) (emphasis added). Novartis need not

prove that the MSN labeling renders the product unsafe in all circumstances, nor

must it prove that the dosing regimen was “necessary” to the drug’s approval.

Novartis need only show that the generic’s labeling is less safe than ENTRESTO’s,

and Novartis made that showing. The agency ignored this standard, suggesting that

the safety profile of the MSN generic need not match the safety profile of

ENTRESTO.

      FDA also posited that other sections of the MSN labeling are sufficient to

overcome any safety issues because they explain how to treat a patient after an

adverse event has occurred. That is exactly backwards from a safety perspective,

and inconsistent with the agency’s actions at the time it approved ENTRESTO’s

labeling. There is an obvious difference between preventing an adverse event from

occurring (as in Section 2.6) and letting patients suffer a potentially preventable




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adverse event and then advising on how to treat it after the fact (as in Section 5).

And nothing in Section 5—or anywhere else in the label other than the language that

will be excised—suggests to physicians that ACE/ARB-naïve patients would be at

particular risk of these adverse events. Patients now may face the known risk of

being administered MSN’s product without the benefit of labeling FDA considered

necessary for the safe use of ENTRESTO in patients.

      The District Court found that FDA “provided a reasoned scientific basis” for

its conclusion that the modified dosing carve-out would not render the MSN product

less safe or effective. ECF 68 at 19. Even assuming that were true, it is the legal

reasoning that is wrong. FDA acknowledged that the dosing regimen may reduce

the risk of adverse reactions in the relevant patient population. AR 301. Yet to

explain its approval of the carve-out, the agency stated that it is unknown whether

the dosing regimen is the “safest” and “best-tolerated” option. AR 3949. Again,

that misunderstands the regulatory standard: The question is whether the generic’s

labeling renders it less safe than the listed drug; if so, Novartis need not demonstrate

that ENTRESTO’s labeling is the safest.

      FDA should not have approved the MSN product’s labeling.

      B. The MSN Product Does Not Have the Same Approved Indication as
         ENTRESTO.

      The FDCA requires that a proposed generic product show that the “labeling

proposed for the new drug is the same as the labeling approved for the listed drug.”


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21 U.S.C. § 355(j)(2)(A)(v). Generic labeling may differ from the labeling of the

reference listed drug only if those differences are due to (as relevant here) the fact

that different companies manufacture and distribute the products. And FDA can do

that only, as relevant here, by omitting an indication or other aspect of labeling if

needed.

      FDA violated that requirement here. ENTRESTO is indicated for all patients

with heart failure. AR 1470. For the MSN product, FDA did not omit an indication;

instead it rewrote the approved indication to cover only patients with reduced

ejection fraction, reverting to the now-superseded ENTRESTO labeling FDA

approved back in 2015.

      In doing so, the agency appears to ignore its own conclusion in 2021 that

ENTRESTO’s labeling should be changed to reflect essential new information

regarding the safety and efficacy of ENTRESTO in treating an expanded set of

patients. In revising the indication in 2021, FDA eliminated the previous reference

to “reduced ejection fraction,” and added two statements to the indication, both of

which emphasize the importance of taking a patient’s LVEF into consideration:

    “Benefits are most clearly evident in patients with left ventricular
     ejection fraction (LVEF) below normal,” and

    “LVEF is a variable measure, so use clinical judgment in deciding
     whom to treat.”

AR 1470.



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      But when describing the indicated patient population, FDA eschewed a

quantitative measure of ejection fraction, to ensure that the drug could be used more

broadly, for all heart failure patients.    In approving the MSN labeling, FDA

jettisoned that approach—which as it acknowledged below, reflected an updated

understanding of heart failure—and reversed its own judgment. FDA’s decision to

rewrite the approved indication for generic products is unlawful, for several reasons.

          1.    The MSN Labeling Violates the FDCA by Reverting to a
                Superseded ENTRESTO Indication.

      The statutory text is framed in the present condition: Both the statute and

FDA’s implementing regulations require sameness to “the labeling approved for the

listed drug.” 21 U.S.C. § 355(j)(2)(A)(v); 21 C.F.R. § 314.127(a)(7); 21 C.F.R.

§ 314.94(a)(8)(iv). “Same as the labeling approved for the listed drug” does not

permit comparison between a generic drug’s new labeling and a reference drug’s old

labeling: The MSN drug must be compared to what ENTRESTO’s labeling says

now. See AR 4579 (in assessing labeling carve-outs, the agency must “start with the

currently approved labeling” and “earlier versions of the drug’s labeling . . . have no

relevance to this inquiry”) (footnote omitted).

      The MSN labeling blessed by the agency essentially reverts to the now-

superseded indication for ENTRESTO by confining its use to the reduced ejection

fraction population. But it is 2025, not 2015. A generic may omit an indication; it

cannot rewind the clock and rewrite the indication as it once was.


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          2.    The Generic Labeling Violates the FDCA and FDA’s Regulations
                by Adding New Language.

      The FDCA requires that the labeling for an approved generic be the “same”

as the labeling for the reference listed product. 21 U.S.C. § 355(j)(2)(A). Under one

limited exception to this principle, the ANDA labeling may differ from the labeling

of the reference listed drug if those differences are due (as relevant here) to the fact

that the products are “produced or distributed by different manufacturers.” Id.

§ 355(j)(2)(A)(v). By operation of its plain text, the “different manufacturer”

exception would permit differences in generic labeling to identify a different

manufacturer, product name, or company address. For this reason, the agency’s

position violates the plain language of its governing statute.

      By regulation, FDA has explained its views on the limited exceptions to the

same-labeling requirement. FDA regulations provide that within the “different

manufacturer” exception, the generic drug product may reflect a labeling carve-out

to address marketing exclusivity granted by FDA or patent rights 21 C.F.R. §§

314.127(a)(7), 314.94(a)(8)(iv). Only a specific type of revision is permitted: an

“omission of an indication or other aspect of labeling protected by patent or accorded

exclusivity under section 505(j)(5)(F).” Id. § 314.94(a)(8)(iv) (emphasis added).

      The word “omission” has a clear meaning: It means to leave something out.

See, e.g., Merriam-Webster Dictionary (defining “omission” as “something left

out”). Leaving out an approved indication is permissible; rewriting the indication is


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not. When a drug has been approved for multiple indications and a generic is later

approved for one of those indications, FDA takes the position that it may permit the

generic manufacturer to market its product without the labeling for the reference

listed drug’s other indications. See Bristol-Myers Squibb Co. v. Shalala, 91 F.3d

1493, 1499–1500 (D.C. Cir. 1996). But when—as here—a reference drug’s labeling

has just one indication statement, FDA cannot allow a generic manufacturer to

rewrite the portions of the single-indication labeling at will.          No reasonable

interpretation of the word “omission” permits the revision of language to modify the

current indication to reflect something different.

       The District Court resisted the premise, crediting the Government’s

assurances that FDA in fact compared the generic’s labeling to ENTRESTO’s

current labeling. ECF 68 at 15. Setting aside whether it is mere coincidence that the

MSN product’s labeling matches ENTRESTO’s original, superseded labeling rather

than the extant version, the agency has still trapped itself in a vise: If FDA compared

the generic’s labeling to ENTRESTO’s current labeling and yet still resurrected

language from ENTRESTO’s original labeling, the agency violated its governing

statute.

       C. The MSN Product Does Not Have the Same Active Ingredients
          as ENTRESTO.

       Finally, FDA acted unlawfully in concluding that the MSN product satisfies

the FDCA’s active ingredient “sameness” test. FDA may approve only those generic


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drug products that are pharmaceutically equivalent to their reference listed drug.

That equivalence requires, among other things, that a generic share the “same” active

ingredients as the listed drug. 21 U.S.C. § 355(j)(2)(A)(ii)(III).

      In evaluating ENTRESTO, FDA stated that it is a complex formed from two

separate drug substances, and it has identified those drug substances as sacubitril and

valsartan. AR 1242. But the MSN product is comprised of sacubitril sodium and

valsartan disodium—two separate salts. AR 1896. To get around this problem, the

agency has now insisted that the active ingredient sameness test should be applied

to these two salts, chemicals that are found in MSN’s product, not ENTRESTO. AR

2784, 2800–01.

      This is news to Novartis.         In the decade-plus regulatory history of

ENTRESTO, the active ingredients have never been identified as the separate

sodium salts of sacubitril and valsartan. E.g., AR 57–119, AR 801–934. These two

separate salts are not identified in the NDA or in the ENTRESTO labeling, nor are

they listed in the Orange Book. AR 57–119, AR 801–934, AR 1469–89. These

separate salts do not occur at any stage in the manufacture, distribution, or

administration of ENTRESTO. AR 801–934.

      The District Court wrongly concluded that ENTRESTO and MSN’s generic

share the same active ingredients for “sameness” purposes by deferring to FDA’s

late-breaking revelation that both drug products contain separate “sacubitril sodium”




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and “valsartan disodium.” ECF 68 at 22. But that is circular at best. The court

concluded FDA had “consistently” treated ENTRESTO as “a different solid state

physical form of the same salts,” id. at 24, but the portions of the administrative

record the court cited reveal the opposite. The separate salt forms of the active

ingredients are mentioned nowhere in the administrative record until MSN came

along. The District Court thus wrongly deferred to FDA’s sameness determination.

   II.     NOVARTIS WILL SUFFER IRREPARABLE HARM.

         Market dynamics dictate that once MSN’s product launches, it will be

impossible for Novartis ever to regain the status quo. See, e.g., Endo Par Innovation

Co., LLC v. Becerra, No. 24-cv-999 (TJK), 2024 WL 2988904, at *8 (D.D.C. June

10, 2024) (finding irreparable harm from market entry). That harm will manifest in

several different ways.

         A. Loss Of Market Position

         ENTRESTO is Novartis’s best-selling drug product. Roop Decl. ¶¶ 6, 7.

Once a purported generic version of ENTRESTO enters the market, pharmacists will

not only have the option, but in some States, the obligation, to fill prescriptions

written for either “ENTRESTO” or “sacubitril/valsartan” with the generic product,

except in those rare cases when the physician expressly specifies the brand or the

patient refuses to consent to substitution. Id. ¶ 17. Pharmacies are also incentivized




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to fill the prescription with the generic product whenever possible, to maximize the

pharmacy’s reimbursement spread. Id. ¶ 18.

      Because of these market dynamics, Novartis projects that ENTRESTO would

experience a dramatic loss of sales in the weeks following generic entry. Roop Decl.

¶ 25 (estimating 28% loss of new-to-brand prescriptions within the first month of

generic entry). These injuries cannot be undone: “Courts have recognized that price

erosion and diminished sales can constitute irreparable harm.” Bayer HealthCare,

LLC v. FDA, 942 F. Supp. 2d 17, 26 (D.D.C. 2013). Nor, of course, can these losses

be recouped from FDA. That a plaintiff is a large company at no risk of dissolution

does not preclude emergency relief in such a situation. See, e.g., Mova Pharm. Corp.

v. Shalala, 140 F.3d 1060, 1067 & n.6 (D.C. Cir. 1998); Teva Pharms., USA, Inc. v.

FDA & Torpharm, 254 F.3d 316 (D.C. Cir. 2000). And for good reason: a large

company may still suffer devastating losses on its best-selling product.

      Unlawful entry of MSN’s purported generic product will fundamentally and

irretrievably affect the market.    ENTRESTO occupies favorable positions on

government and private payers’ lists of approved prescription drugs, known as

formularies. Roop Decl. ¶ 20. Upon entry of MSN’s generic, Novartis expects that

insurers would either drop ENTRESTO to a lower tier or remove it entirely. Id.

      Once generic entry happens, even if the generic is later removed from the

market, it will be next-to-impossible for Novartis to persuade insurers to voluntarily




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move ENTRESTO back into a more favored position on formularies. Id. ¶¶ 22, 36.

That will lead to ongoing (and irremediable) losses:            First, it would make

ENTRESTO unavailable to many patients, leaving them with access only to cheaper

but vastly less effective treatments. Id. ¶ 13. That would especially be so because

physicians tend to prescribe lower tier drugs and/or grant patients’ requests for

them—especially generic drugs, which are viewed to be interchangeable and cheap.

Id. ¶ 21. And once third-party payers and pharmacy benefit managers see a lower

generic price, they will extract price concessions from Novartis for ENTRESTO.

Because those concessions also are contracted-for, even if MSN later exits the

market, the concessions likely could not be reversed. See id. ¶ 36.

      B. Reputational Harm and Loss of Goodwill

      Without temporary relief, Novartis also will suffer reputational harm and an

irretrievable loss of goodwill among patients, physicians, and others. Id. ¶¶ 34, 36.

Injuries or side effects caused by purported generic ENTRESTO are likely to be

unfairly attributed by physicians and patients to Novartis, and this is not a theoretical

concern, given the generic’s confusing labeling and missing dosage instructions. Id.

¶¶ 37, 38. As the manufacturer of the reference listed drug, Novartis will be forced

to expend time and resources documenting, investigating, and responding to patient

concerns that arise from substitution of a purported generic product—even when the

issue originates with he generic product, not ENTRESTO. Id. ¶ 39. And after an




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adverse experience with MSN’s generic, patients, and prescribers are likely to reject

any sacubitril/valsartan drug product, not revert back to ENTRESTO. Id. ¶ 32.

      C. Research and Development

      Because revenues from ENTRESTO are a critical part of Novartis’s ability to

develop new therapies that treat critical health conditions, id. ¶ 35, the “loss of

research and development funding” as a result of a generic’s market entry will be

irreparable. Bayer HealthCare, 942 F. Supp. 2d at 26; see Roop Decl. ¶ 30 (detailing

Novartis’s plans to further expand into the cardiovascular health area). If an

unlawfully approved generic enters the market, all of these important activities

would be jeopardized. Id. ¶¶ 6, 10, 30. The resulting harms could not be remedied

after the fact: Progress toward developing critical new therapies will stall, and

Novartis will have been subjected to significant risk of falling behind its competitors.

Id. ¶ 31

   III.    NO OTHER PARTIES WOULD BE HARMED BY A STAY.

      There is no irreparable harm on the other side of the ledger. A short stay that

preserves the status quo harms no one. FDA suffers no consequence if the stay were

granted; it has no stake in the matter other than complying with the law. MSN has

not launched its product. Temporary relief thus can “preserve the object of the

controversy in its then existing condition—to preserve the status quo.” Aamer v.

Obama, 742 F.3d 1023, 1043 (D.C. Cir. 2014) (quotation omitted).




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   IV.    A STAY WOULD PROTECT THE PUBLIC INTEREST.

      “[T]here is a strong public interest in meticulous compliance with the law by

public officials.” Fund for Animals, Inc. v. Espy, 814 F. Supp. 142, 152 (D.D.C.

1993). A stay will benefit FDA by keeping it within the bounds of the law. It will

benefit generic filers that stayed within statutory and regulatory bounds, creating an

even playing field. And it will benefit the public by fulfilling the statutory scheme.

      Patients will also suffer irreparable harm absent a stay. Physicians will

mistakenly assume that ENTRESTO may not be prescribed for heart failure patients

with preserved ejection fraction, and these patients will miss out on lifesaving

therapies. See Roop Decl. ¶¶ 37, 38. If the dose modification information is omitted

from purported generic versions of ENTRESTO, ACE/ARB-naïve patients will

receive treatment according to the standard dosing recommendations and will be

titrated up more quickly than is tolerable, jeopardizing their safety. Id. ¶ 16. And

MSN’s product will be prescribed to patients even though its approval impermissibly

relied upon FDA’s safety and effectiveness finding for ENTRESTO—a drug with a

different active ingredient.

                                  CONCLUSION

      For the foregoing reasons, the Court should immediately extend an

administrative stay to permit it the time required to consider Novartis’s motion and

any opposition and reply. The Court should then grant Novartis’s emergency motion




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and stay FDA’s approval pending a decision on the merits. Novartis asks that an

administrative stay be entered by 5PM on January 13, followed by a decision on

Novartis’s emergency stay motion by 5PM on January 15.

                                    Respectfully submitted,

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Dated: January 12, 2025             Attorneys for Novartis Pharmaceuticals
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g)(1), the undersigned hereby certifies that this

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                                              /s/ Catherine E. Stetson
January 12, 2025                              Catherine E. Stetson




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                       CERTIFICATE OF SERVICE

      I certify that on January 12, 2025, the foregoing was electronically filed

through this Court’s CM/ECF system, which will send a notice of filing to all

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                                          /s/ Catherine E. Stetson
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